        Case 3:16-cr-01229-MMA                Document 64           Filed 10/20/16             PageID.165       Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case                                                           FILED
                                                                                                                OCI2 0 2016
                                    United States District Court
                               SOUTHERN DISTRICT OF CALIFORNIA                     CLERK US DISTRICT COURT
                                                                              SOUTHERN DISTRICT OF CALIFORNIA
                                               JUDGMENT IN A CRIIvMaL CASE-
             UNITED STATES OF AMERICA
                        V.                     (For Offenses Committed On or After November 1,1987)
         BRIAN DANIEL GARCIA-RUELAS (2)
                                                                       Case Number:         16CR1229 MMA

                                                                    AMRUTHA N. JINDAL, FEDERAL DEFENDERS
                                                                    Defendant’s Attorney
REGISTRATION NO.                  56753298

□-
THE DEFENDANT:
IEI pleaded guilty to count(s)       ONE OF THE INFORMATION

□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                    Nature of Offense                                                                Number(s)
8 USC 1324(a)(l)(A)(i)             BRINGING IN ALIENS AND AIDING AND ABETTING                                           1
and (v)(II)




    The defendant is sentenced as provided in pages 2 through                 2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
□ Count(s)                                                    is          dismissed on the motion of the United States.

      Assessment: $100.00 WAIVED



IEI No fine                □ Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                      faober 17. 2016
                                                                    Date^flmpositipn of Sgfftgrfce


                                                                    HON. MICHAEL M. ANELLO
                                                                    UNITED STATES DISTRICT JUDGE



                              l                                                                                  16CR1229 MMA
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                BRIAN DANIEL GARCIA-RUELAS (2)                                           Judgment - Page 2 of 2
CASE NUMBER:              16CR1229 MMA


                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 SIX (6) MONTHS




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:
 □



       The defendant is remanded to the custody of the United States Marshal.
 □
       The defendant shall surrender to the United States Marshal for this district:
 □
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 □     Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      16CR1229 MMA
